Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 1 of 6

NOTICE OF AND RESCISSION OF DEFENDANTS" JOINT UNOPPOSED MOTION
FOR DECLARATION OF COMPLEXITY AND TO EXCLUDE TIME WITHIN WHICH THE
THE TRIAL FOR THE OFFENSES CHARGED IN THE INDICTMENT MUST COMMENCE
PURSUANT TO 18 U.S.C. §3161(h) FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2013 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 36 Filed 07/07/2010 USDC Colorado Page 1 of
5 DEFENDANTS' JOINT UNOPPOSED MOTION FOR DECLARATION OF COMPLEXITY AND TO EXCLUDE TIME
WITHIN WHICH THE TRIAL FOR THE OFFENSES CHARGED IN THE INDICTMENT MUST COMMENCE PURSUANT
TO 18 U.S.C. §3161(h) 1, Page 2 of 5 2, Page 3 of 5 3, Page 4 of 5 4, Page 5 of 5 Lisa
Monet Wayne Richard K Kornfeld 5"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind the
original "supra" including every copy, for cause. I made a mistake creating, preparing
and filing the DEFENDANTS' JOINT UNOPPOSED MOTION FOR DECLARATION OF COMPLEXITY AND TO
EXCLUDE TIME WITHIN WHICH THE TRIAL FOR THE OFFENSES CHARGED IN THE INDICTMENT MUST
COMMENCE PURSUANT TO 18 U.S.C. §3161(h). I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Lay son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." °"Deliver yourself like a gazelle from the hand
of the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely
FILED Peeat Lille SAP,
UNITED STATES DISTRICT COURT rode &
DENVER, COLORADO Richard Kellogg rmstrong
c/o 20413-298
JAN 17 2014 Federal Correctional
Ub Institution - Lompoc
REY P. COLWE 3600 Guard Road
JEFFR CLERK Lompoc, California

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Page 1 of 2
Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 2 of 6

Case 1:10-cr-00317-REB Document 36 Filed 07/07/10 USDC Colorado Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

     
 

Criminal Case Né. 10-cr-00317-REB

UNITED STATES OF AMERICA,
Plaintiff,
Vv. ~~
1. CURTIS OBRIS, oN *\
tf[~

2. RICHAR OGG ARMSTRONG, \

Defendants’ Q

(ONON FOR DECLARATION / \

HIN WHICH THE TRIAL FOR THE

COMMENCE UN

A

, d through undersigned coun Sve pursuant to 18 U.S.C. ~~

DEFENDAN®*JOINT UNOPPOSED
COMPLEXIT TO EXCLUDE TIME
OFFENSES C IN THE INDICTMEN

18 U.S.C. §3

 
    
 

§3161(h)(7)(A),(B)(i)-(iv), request that this Court entef 3s Order removing this case from th

aL
time limits established U.S.C §3161(c)(1) Na Ollowing reasons:

I. Defenda charged in a nine Nady indictment charging them Wit i
fraud and filing false claims against the United State ase arises out of an mw NS

    
   
   
   
  
  

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fraudulent scheme inYlvi¥$ the filing of certain tax

2. Defendggts have not yet received the covery, which is expected to compy

approximately ten banker Boxes of documents, as w' ne mirror image of a computer h

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drive.

3. The mM. has indicated that the i igation of this case is ongoingtgfhid
that a superseding indictment, which likely will Eas and defendants, may be
forthcoming.

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Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 3 of 6

Case 1:10-cr-00317-REB Document 36 Filed 07/07/10 USDC Colorado Page 2 of 5

4, Pursauant to this Court’s Trial Preparation Conference Order (Document 33),
pretrial motions afe due July 9, 2010, and trial is set to commence on August 23, 2010 . While

defense counsel Uglieves it will have discovery by July 9th, there will not be enough ti

    
   
   

digest the discove rder to facilitate meaningful an ctive motions practice.

   
 

5. i harges themselves may not Ke , the underlying factual b

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complicated and w#require defense investigation, oR intervening potential witnss A
indpractives and procedures. Accordh ag

and an understandinwdagertain Internal Revenue Servi
defense counsel do t believe that the August 23" trial date will afford enough time to
properly and adequat repare a defense for trial. NC (\

6. Mor the defense in this case is likel\ tneed to locate and retain its ow

 
 

so need to review the discovée

w-C. §3161(h)(7)(A) provides tht RC ourt shall exclude a period of V\
time within which a trial neon where “the ends of oo V\

served by taking eRe outweighed the best interest public and the defendant in a

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delay from computing t

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speedy trial.”

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8. Asis C Ws aware, Title 18 U.S.C. sq (h)(7)(B)(i)-(iv), sets forth the

factors a Court msi cep determining whether to gr}nt nds of justice continuance. \

  

The first factor is “whether the failure to grant such a conti would be likely to make a
\,
continuation of such pro jng impossible, or result in a me iage of justice.” Title 18

time to digest and analy: discovery, retain experts, interview potential witnesses both in the

U.S.C. §31 ema ~ the present case, denying Woke tans and their counsel adequate

in a miscarriage of justife.

f

United States and wl) and to otherwise perform adequate due diligence would result

ma:
bd
Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 4 of 6

Case 1:10-cr-00317-REB Document 36 Filed 07/07/10 USDC Colorado Page 3 of 5

  

The second factor, “[w]hether the case is so unusual or complex, due to the

number of de’ nts, t ture of the prosecution, or the existence of novel questions of fact or

law, that it Poy to expect adequate preparation for pre-trial proceedings or for the trial
itself within tf¥gyne limits established by this sect see Title 18 U.S.C. §316 lg
also supportsWyjs Motion. The case is complex due to bject matter of the allege@ tax

related scherk. In Mion prior legal and/or financ
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issue.

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10. ird factor, which includes “[w]hether...,or because the facts upon which the

 

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grand jur&{ mit its determination are unusual or c ex” (see Title 18 U.S.C.

§3161(h)(7) Sat also supports the continuance sought in this Motion for the reasons s

above.

11. The fourth factor, “[w]hether the failure\t ant such a continuance in a case
~

which, taken as ole, is not so unusual or so compl ano fall within clause (11), wouldigen
the singe time to obtain counsel, weaken deny the defendant or the

Government WY counsel, or would deny counsel for the defendant or the attorney

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the Government} the feasonable time necessary for effect

exercise of due R- (see Title 18 U.S.C. §3161(h

all the reasons woth herein. The legal, factual and Ig\stical' realities of dealing with the

keparation, taking into accouMthe

’)), is applicable in this case, f0

7

subject matter mes do not lend themselves to mo and trial setting dates within th 70

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day Speedy Trial Act window and as set forth in the Co Trial Preparation Conference es

*
(Document >a due to the technical nature of t jase, the volume of discovery, Pm
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need to retain experts and the attendant momen as involved in the case, Defendants
A,

' Defendant Armstron n custody at the FDC Englewood, thus limiting counsel’s access to both Defendant and
his documentation, ghich located at his residence in Arizona.

 
Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 5 of 6

Case 1:10-cr-00317-REB Document 36 Filed 07/07/10 USDC Colorado Page 4 of 5

 

rendering it unreasonable to expect adequate preparation for pre-trial proceedings or the trial

itself wit ¢ time limits established by the speedy trial act. Undersigned counsel respectfully
avers th € reasons stated herein, an ends of justice continuance is necessary to counsel for
NO

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the defendants reasonable time for effective preparation. _

  
 

   
  
  

2 ee decision to grant an ends of justicexon MuaKce is within the soun¥ distye
of the CouMggnd is reviewed under an abuse of discret standard. United States v. J
574 F.3 S” Cir, 2009). “Adequate Preparation € clearly permissible reaXo
N

granting afo nce and tolling the Speedy Trial Act® United States v. Gonzales, 147 I.

 

1431, 1494 ( ir. 1998). However, “such a reason supported by the informatigy and

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evidence preseed to the district court.” United Statas v. Medrano

(Colo.)) (cifiag Gonzales, supra).
13. ~~: the reasons set forth herein, Defen|

—_
this Court exclude 180 days from the Speedy Trial Act

, 2009 WL 4547801 (C\A.1

 
  
   
 
 
 
   

 

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ts and their counsel are requeshg
a them to digest the discovdry,
Neary to file pretrial motions.

retainer expesNgng perform the other due dili gence

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14. istant United States Attorney Kennex H

government earet object to this Motion.

15. a. Defendants respectfully reqt c the Court enter an Order

finding that this rhatté& is complex, that the ends of just would be served by removing th;
t

on has indicated that the

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case from the time limits dictated by Title 18 U.S.C. §31

   
 

)(1), and excluding 180 days from
the Speedy Tria Act ursuant to Title 18 U.S.C. § 3161

Dated thie?7" day of July, 2010.

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Case 1:10-cr-00317-REB Document 735-8 Filed 01/17/14 USDC Colorado Page 6 of 6

Case 1:10-cr-00317-REB Document 36 Filed 07/07/10 USDC Colorado Page 5 of 5

Respectfully submitted,

s/Lisa Monet Wayne

LISA MONET WAYNE

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\G03) 573-1900
a nn

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: (303) 446-9400
miq@rechtkornfeld.com
‘NY
CERTIFICATE RVICE V\

C\\
y that on this 7” day of Ju x0, I electronically filed the foregoi
Defendants’ ApinPUnopposed Motion for Declaration of Complexity and to Exclude Yirfe
Within Whi Trial for the Offenses Charged ih the Indictment Must son
will

Pursuant to 1 C. § 3161(h) with the Clerk o rt using the CM/ECF system whic

   
 
      

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send notificatagg of such filing to all listed p

s/Michael om
Michael Shomler

 
